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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

BYTEMARK, INC.,                                 §
                                                §
                  Plaintiff,                    §
                                                §
       v.                                       §   CIVIL ACTION NO. 1:17-cv-01803
                                                §   (PGG)
XEROX CORP., ACS TRANSPORT                      §   ECF CASE
SOLUTIONS, INC., XEROX                          §
TRANSPORT SOLUTIONS, INC.,                      §
CONDUENT INC., and NEW JERSEY                   §
TRANSIT CORP.,                                  §
                                                §
                  Defendants.                   §
                                                §
                                                §
                                                §
                                                §

                                CERTIFICATE OF SERVICE

       The undersigned certifies that on December 28, 2020, Defendants’ Memorandum of Law

in Support of Its Motion to Compel and Motion for Protective Order, and Exhibits A-F were

served via e-mail on counsel of record at the following email addresses:

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                                                    /s/ Ashley N. Moore
                                                    Ashley N. Moore
